                                  Case 3:16-cv-00014-AC                 Document 1-2              Filed 01/06/16     Page 1 of 9

•   a           t       I

                                                        L   .




        vi
        -
        0           1
        c-.:!
        V"l
        -
        ...._

        �           2
        t<i
          r::
        .50         3
        8                                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
        4..
         0          4
         >,
         g.
        (.)
                                                            FOR THE COUNTY OF CLACKAMAS
                    5
        �0
                    6       JOSEPH LEONETII, personally and as                              Case No.   C V 151.2 004 3
        (.)
        as                  Personal Representative of the Estate of Holly
                            Leonetti, deceased,                                             COMPLAINT FOR FALSE ARREST,
        '-=
        ·r:::       7
                                                                                            MALICIOUS PROSECUTION, DENIAL OF
                                                                                                                                                          f _, fA3,.,
        �J
                    8                      Plaintiff,                                       CIVIL RIGHTS UNDER 42 USC §1983
                                                                                                                                                        �'f --1\
                    9
                                   v.
                                                                                            Prayer: $7,500,000                                          C�106�
                10                                                                          Not Suitable for Mandatory Arbitration
                   PATRICK BRAY, LISA SHIPLEY,
                11 ANTHONY KOLLIAS, CLINT PIERCE,
                   CLACKAMAS COUNTY, a Political
                12 Subdivision of the State of Oregon
                                                                                                                           'CVT6120D43
                13                                                                                                          CM
                                           Defendants.                                                                      Complain!
                                                                                                                            3870860
                14

                15
                                   Plaintiff Joseph Leonetti ("plaintiff') hereby alleges as follows:                       l lllllll ll lllllll�lfll llll ll llll
                16                                                                     1.


                17
                                   1bis is a complaint for false arrest, malicious prosecution, denial of constitutional rights
                                             -·-




                            under the First, Fourth, Fifth, and Fourteenth Amendments to the United States Constitution, and
                18

                19
                            loss of society, services, companionship, and consortium (for Holly Leonetti, now deceased).


                20
                                                        Facts Applicable to All Causes and Claims

                21
                                                                                       2.
                22
                                   At all material times, plaintiff was and is a resident of Oregon City, Clackamas County,

                23
                            Oregon. At all material times, plaintiff is or will be the duly appointed personal representative of
                24
                            the estate of his deceased wife, Holly Leonetti. Defendants Bray, Shipley, Kollias, and Pierce
                25
                            are or were at all material times employees of the Clackamas County Sheriffs Office ("CCSO"),

                26

                            Page 1 -COMPLAINT-- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CNIL
                            RIGHTS UNDER 42 USC § 1983
                                                                                                                    29979.001\4830-4300-9579. v 1
                                                                                CABLE HUSTON
                                                                      1001 SW FIFTH AVENUE, SUITE2000
                                                                        PORTI.AND, OREGON 97204·1136
                                                                TELEPHONE (503) 224-3092, FACSIMILE(503) 224-3176
                                                                                                                                    Exhibit 6
                                                                                                                                  Page 1 of 9
                               Case 3:16-cv-00014-AC                Document 1-2               Filed 01/06/16      Page 2 of 9

            '       '

                                                    '
                                                     .. '




        I
.,;
0               1       and employees of Clackamas County at all times acting within the course and scope of that
C::!
V)


�               2       employment. At all material times they acted under the supervision and control of their senior

!               3 officers, and of the sheriff, and of their employer, Clackamas County. Individual defendants are
(§
�               4       sued in their official and personal capacities.
 g:
u               s                                                                  3.

]
1S
                6               Plaintiff Joseph Leonetti is the father of three, and was the husband of Holly Leonetti
t;::
·�::;           7       until she died of breast cancer in 2015. He has lived and worked in the Portland and Oregon City
�I
                8       area for many years. He has been involved in soccer since he was a youth, playing soccer

                9       professionally, acting as a soccer coach, and acting as a soccer commentator for soccer teams.

            10          At the time of the acts set forth below, he was coaching his daughter's city league soccer team

            11          and also coaching a high school team.

            12                                                                     4.

            13                  P.D. is a minor, the daughter of J.D. J.D., at all material times was and is a deputy sheriff

            14          with the Clackamas County Sheriff's Office. P.D. was a friend of Joseph Leonetti's daughter,

            15          Chloe, and played on the same soccer team, which Mr. Leonetti coached. P.D. falsely accused

            16          plaintiff of sexual abuse, by telling a friend, who told her mother, who told J.D.'s wife, who told

            17          J.D.   Around the time of the alleged abuse, P.D. was under pressure at home regarding school

            18          and soccer. She recently had been moved by Mr. Leonetti to the "B" team, to the irritation of

            19          J.D., who was angry with Leonetti for not playing P.D. on the "A" team. Most of P.D.'s friends

            20          were on the "A" team. P.D. had recently changed schools to a new school, again, leaving her

            21          friends behind.

            22                                                                     5.

            23                   J.D. thought about the accusations for several weeks, and then ultimately told defendant

            24          Sgt. Kollias, the leader of his SWAT team, on or about June 7, 2013. Sgt. Kollias thought about

            25 the case and discussed it with J.D. for several days, but ultimately decided to investigate the

            26          matter. Defendant Kollias then became in charge of the investigation. Despite the fact that the

                        Page 2- COMPLAINT-- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CIVIL
                        RIGHTS UNDER42 USC §1983
                                                                                                                  29979.001\4830-4300-9579.vl
                                                                             CABLE HUSTON
                                                                   1001 SW FIFTH AVENUE, SillTE 2000
                                                                     PORTLAND, OREGON 97204-1136
                                                            TE1.EPHONE (SOl) 224-3092, FACSIMILE (SOl) 224-3176
                                                                                                                                Exhibit 6
                                                                                                                              Page 2 of 9
                               Case 3:16-cv-00014-AC                 Document 1-2              Filed 01/06/16       Page 3 of 9
                     .                               .   .
             .




vi
0                1 alleged events purportedly took place at plaintiffs house, in Oregon City, defendants had a
c:!
V'l


� 2 personal interest in the case, the alleged victim being the daughter of their brother officer, J.D.,
......




"iii
                 3 and so they elected to keep the case and investigate and prosecute the case themselves rather than
 1:::
·so
8
� 4                      simply referring the matter to the Oregon City Police Department, a neutral agency. Defendant
§:
u                5 Kollias assigned detectives Bray and Shipley (defendants) to investigate the case. Defendants

�
u                6       also enlisted the help of various Oregon City Police Department detectives, with Kollias and
]
                 7 Clackamas County Sheriffs Office remaining in charge of the investigation. Ultimately, in
t.:::
·�::
 Cl.l
>
         I
                 8 2014, and shortly before trial, defendant Sgt. Pierce took over supervision of the case and

                 9       supervision of detectives Bray and Shipley. Ultimately, everything defendants did prevented this

             10          case from being treated as a normal case, and prevented it from being investigated in a neutral

             11          manner.

             12                                                                     6.

             13                 According to CCSO's own protocols, this should have been designated a "sensitive case''

             14          because it involved a public employee (indeed a sheriffs sergeant), and should have had a

             15          "sensitive case review" before proceeding with an investigation, a determination of jurisdiction,

             16          and interviews of the alleged victim.

             17                                                                     7.

             18                    On or about June 10, 2013, Bray and Shipley first interviewed P.D. During the course of

             19          that interview, and in the course of the interviews that followed, P.D. continually changed her

             20 story, varying the months in which the abuse allegedly, took place, varying the number of nights

             21          she spent at the Leonettis, and making statements that revealed she was being coached and

             22          "helped" in her renditions of the facts. By the time she was interviewed by CARES Northwest

             23          (Child Abuse Response and Evaluation Services), it w�s clear she had not been interviewed in a

             24          neutral manner. At various times, P.D. said the touching occurred in September and October,

             25          2012, then stretched that out to November, 2012, and later moved the time to early 20 13. P.D.

             26          told friends that the touching occurred as late as March or April, 2013.                 At various times she

                         Page 3 -COMPLAINT -- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CIVIL
                         RIGHTS UNDER42 USC §1983
                                                                                                                   29979.001\4830-4300-9579. vl
                                                                             CAB!.E HUSTON
                                                                   I 001 SW FIFTH AVENUE, SUITE 2000
                                                                      PORTLAND, OREGON 97204-1136
                                                             TELEPHONE (S03) 224-3092, FACSIMILE (S03) 224-3176
                                                                                                                                 Exhibit 6
                                                                                                                               Page 3 of 9
                             Case 3:16-cv-00014-AC            Document 1-2              Filed 01/06/16      Page 4 of 9

                   .
           '




       I
.,.;
c;             l       said it occurred on two occasions, five occasions, and "a lot" of occasions. Defendants covered
�
V'\


§              2 up the inconsistencies, failed to investigate them, and presented a glossed-over fact scenario to

               3 the prosecuting attorney.

                                                                             8.

                              By its own protocols, CCSO personnel were required to notify Oregon DHS within 24

               6       hours of learning of the alleged abuse, DHS was to determine jurisdiction, both agencies must

               7 investigate in tandem, and the Children's Center (or CARES) is to conduct the first interview of

               8       the alleged victim. None of these protocols were followed by defendants.

               9                                                             9.

           10                 Bray and Shipley then first arrested plaintiff Leonetti on the same day as their first

           11          interview of P.D., June 10,2013, and took him to the Sheriffs station. He was not booked that

           12 day, but eventually set free the same day. Defendants then arrested plaintiff Leonetti again on

           13 June 12, 2013. He was booked and lodged in the jail, and then released on bail on June 13,2013.

           14                                                               10.

           15                 Before any meaningful investigation, and using misleading and sanitized information

           16          presented to the prosecuting attorney by the defendants, they obtained an arrest warrant, and Mr.

           17          Leonetti was charged with four counts of sexual abuse� a class B felony, and he was indicted by

           18          the grand jury on June 18, 2013.

           19                                                               11.

           20                 As a result of the arrest, charges, and prosecution of p1aintiff, Mr. Leonetti was forced to

           21 move out of his house, away from his wife and his own children, and he could only visit with his

           22          own children under the supervision of another adult family member certified to chaperone the

           23 visit. He was not allowed to attend his own daughter's soccer games. This continued for many

           24          months, all while Holly Leonetti was suffering from breast cancer and needed the

           25          companionship, society, support, and services of her husband.

           26 Ill

                       Page 4- COMPLAINT- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CNIL
                       RIGHTS UNDER42 USC §1983
                                                                                                           29979.00 I \4830-4300-9579. v1
                                                                      CABLEHUSTON'
                                                            1001 SWF!Fl'HAVENUE, SUITE2000
                                                              PORTLAND, OREGON 9n04·1136
                                                      TELEPHONE (503) 224·3092, FACSrMILB (503) 224·3176
                                                                                                                          Exhibit 6
                                                                                                                        Page 4 of 9
                                Case 3:16-cv-00014-AC            Document 1-2               Filed 01/06/16     Page 5 of 9

              '
                      .




v)
......
0                 1                                                            12.
�
V1

                  2              Through the acts and omissions of defendants, they set in motion, and maintained in
§
� 3 motion, a prosecution of plaintiffthat continued unti11jhe 3rd day oftrial, in March, 2015. Had
·;;/)
B
.....
  0               4 the prosecuting attorney had the information from defendants that he finally possessed at the
  >.
  g.
(.)               5       time of trial, he would have dismissed the prosecution.

i
(.)               6                                                            13.
'"0
 Q)
o.;::::
                                 The defendants never investigated the scene of the alleged crime. They never obtained a
"5 7
>
          I
                  8 search warrant for any physical evidence from the Leonetti household. The physical layout of

                  9 the Leonetti home makes P.D.'s account of what happened physically impossible.                      Other than

              10 P.D.'s various versions of the events, there simply was no evidence that a crime had occurred.

              11                                                               14.

              12                 Defendants never gathered digital evidence or social media evidence from the alleged

              13          victim and her friends. They never collected cell phone call logs, texts, or any images of

              14          computers used by P.D., her parents, or Mr. Leonetti.

              15                                                               15.

              16                 Defendants failed to follow up when witnesses told them there were rumors that P.D.

              17          made the whole thing up because she was angry about being on the "B'' team. Had they been

              18          conducting a neutral investigation without malice, they would have sourced the rumors rather

              19 than simply adhering to P.D. 's "core" story.

              20                                                               16.

              21                 P.D. stated to defendants that Holly Leonetti was bed�ridden at the time of the alleged

              22          abuse, and so could not have been in the room when the alleged abuse took place. In reality,

              23 Holly was in the room or the next room when P.D. spent the night at Leonettis, and was still

              24          strong and in relatively good health, as is demonstrated by photos from that time period, both in

              25 Oregon City and on vacations. Defendants, nevertheless, failed to look into the inconsistencies

              26 in the facts of the case.

                          Page 5 -COMPLAINT -- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CNIL
                          RIGHTS UNDER42 USC §1983
                                                                                                              29979.001\4830-4300-9S79.vl
                                                                         CABLB HUSTON
                                                               1001 SW FlFTH,AVBNUB, SUITB 2000
                                                                 PORTLAND, ORBOON 97204-1136
                                                         TELEPHONE (503) 224-3092, FACSIMILE (503) 224-3176

                                                                                                                            Exhibit 6
                                                                                                                          Page 5 of 9
                                Case 3:16-cv-00014-AC             Document 1-2               Filed 01/06/16     Page 6 of 9

             .        .




vi
8                 1                                                             17.
C::!
II")
......
N
......
                 2               P.D.'s behavior, and her parents' behavior, is inconsistent with allegations that she was
Ol
                  3 abused. The ensuing investigation by defendants was not neutral, due to P.D. being the daughter
 r::
'@)
8
                 4        of J.D., a brother officer, and defendants ignored and failed to pursue numerous red flags that
"""
 0
 6:
 0
u                5 experts have long-recognized accompany false accusations. P.D., even after the alleged abuse,
�0
                 6 continued to have a comfortable relationship around plaintiff, and plaintiffs family, with
u
"0
 <I)
!.;:1
"5 7 plaintiff continuing to drive the girls to and from practices and games. From time to time, P.D.
>
         I
                 8 would choose to ride with the Leonettis, and with Joseph Leonetti, even after the time of the

                 9 alleged abuse.

                 10                                                             18.

                 11              Mr. Leonetti took, and passed, two separate polygraph, or "lie detector" tests regarding

                 12       his innocence. Mr. Leonetti underwent a complex psychosexual evaluation, and he exhibited

                 13       none of the symptoms or indicators that he was or is a pedophile. Interviews of the parents of all

                 14       the girls he coached failed to turn up any inappropriate behavior.

             15                                                                 19.

                 16              In the course of the investigation, defendants engaged in numerous "Brady" violations in

                 17 that they suppressed several items of exculpatory or impeaching evidence, as alleged above. The

                 18       violations were willful, and they prejudiced plaintiff because the prosecution continued, while

             19           those violations remained suppressed. P.D. in, June 20 13, told a friend about a sleeping bag she

             20           took to the Leonettis' and that it contained DNA evidence from plaintiff. Defendants learned of

             21           this sleeping bag in June, 2013, but inexplicably failed to seize th e sleeping bag, preserve it, or to

             22           search for any other DNA evidence in the J.D. household or in the Leonetti household. Even

             23           after P .D.'s mother told them there was never a sleeping bag, defendants suppressed that fact,

             24 along with failing and refusing to produce a sleeping bag, and in not revealing the truth about the

             25           nonexistent sleeping bag until shortly before trial. P .D. later denied there was a sleeping bag, or

                 26       that she had told anyone about a sleeping bag containing DNA evidence.

                          Page 6- COMPLAINT -- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CIVIL
                          RIGHTS UNDER42 USC § 1983
                                                                                                               29979.001\4830-4300-9579.vl
                                                                          CABLE HUSTON
                                                                1001 SW FIFTH:AVBNUE, SUITE 2000
                                                                 PORTLAND, OREGON 97204-1136
                                                          TELEPHONE (S03) 224-3092, FACSIMILE (503) 224-3176
                                                                                                                             Exhibit 6
                                                                                                                           Page 6 of 9
                           Case 3:16-cv-00014-AC              Document 1-2                Filed 01/06/16    Page 7 of 9

        .       .




.,..;
�
0
            1                                                               20.
�
II"\
.....
..._
M           2               Further, defendants failed to investigate exculpatory evidence, in violation of principles
-


";ic:
"@l         3       set forth in   California v. Trombetta,   461 U.S. 479, 488, 104 S.Ct. 2528, 81 L.Ed.2d 413 (1984)
8
'o 4                and Arizona v.    Youngblood,   488 U.S. 51, 58, 109 S.Ct. 333, 102 L.Ed.2d 281 (1988).
 �
 0
u 5                                                                         21.

i
u           6               Defendants, in dealing with the prosecuting attorney, provided him with misinformation,
�                                                                                     I

l+=l
•t::        7       concealed exculpatory evidence, and otherwise engaged in bad faith conduct that was actively
�I
            8 instrumental in causing the initiation and continuation of the prosecution of plaintiff.

            9                                                               22.

        10                  On March 3, 2015, the trial began with selection of a jury. On March 5, 2015, the

        11 attorneys gave opening statements. Immediately following that, and following a conference with

        12          the Court, the prosecuting attorney dismissed the case in the interests of justice, without

        13          procuring any plea, release, or other quid pro quo from plaintiff. The dismissal was the result of

        14          the prosecuting attorney's opinion that the case lacked merit and would result in a jury acquitting

        15 Mr. Leonetti.

        16                                                                  23.

        17                  Holly Leonetti died of cancer on June 19, 20 15. Her last two years of life were taken

        18          over by false accusations of her husband, and a 20 month criminal prosecution that was

        19          dismissed by the prosecuting attorney when he realized he had no case, all times that she should

        20 have been spending with her husband and children in a happy setting.

        21                                                                  24.

        22                  Plaintiff was damaged personally by the above acts and omissions in an amount not to

        23          exceed $6mm. Plaintiff suffered economic damages in an amount not to exceed $875,000 for

        24          legal fees and expenses, counseling expenses, and for wage loss, and he suffered non-economic

        25          damages in an amount not to exceed $5,125,000 due to emotional distress, mental anguish,

        26 humiliation, and damage to his reputation.

                    Page 7- COMPLAINT-- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CIVIL
                    RIGHTS UNDER42 USC §1983
                                                                                                           29979.001\4830-4300-9579.vl
                                                                      CABLE HUSTON
                                                            1001 SW F!FTHAVBNUE, SillTB2000
                                                              PORTLAND.-OREGON 97204-1136
                                                      TELEPHONE (503) 224-3092, FACSIMILE (503) 224-3176
                                                                                                                        Exhibit 6
                                                                                                                      Page 7 of 9
                       Case 3:16-cv-00014-AC            Document 1-2               Filed 01/06/16             Page 8 of 9
             .
'   .




                                               First Cause of Action -False Arrest

                                                                      25.

                        Plaintiff realleges paragraphs 1 through 24.

                                                                      26.

                        Defendants arrested and jailed plaintiff without probable cause, all to his damage as

        6 alleged above.

                                        Second Cause of Action -Malicious Prosecution

                                                                      27.

        9               Plaintiff realleges paragraphs 1 through 26.

    10                                                                28.

    11                  Defendants initiated and pursued a criminal prosecution o f plaintiff with malice and

        12       without probable cause, all to his damage as alleged above.

    13                                       Third Cause of Action-42 USC                   §1983

    14                                                                29.

    15                  Plaintiff realleges paragraphs 1 through 28.

    16                                                                30.

        17              Defendants' actions deprived plaintiff of his constitutional rights under the First, Fourth,

    18 Fifth and Fourteenth Amendments to the United States Constitution.

    19                                                                31.

    20                  At all material times, and when they deprived plaintiff of his constitutional rights,

    21           defendants were acting under color o f state law in their employment                as   detectives, police

    22           officers, and deputy sheriffs for Clackamas County, and they acted in a knowing or reckless

    23           manner. Clackamas County and the Clackamas County Sheriffs Office failed to adequately

    24           supervise or train its officers, detectives, and supervisors, causing the actions and omissions

    25 alleged above.

    26

                 Page 8 -COMPLAINT-- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CIVIT..
                 RIGHTS UNDER 42 USC § 1983
                                                                                                            29979.001\4830-4300-9579.vl
                                                                 CABLB HUSTON
                                                      1001 SW FIFTH AVENUE, SUITE 2000
                                                        PORTLAND, OREGON 97204-1136
                                                TELEPHONE (SOJ) 224-3092, FACSIMILE (S03) 224-3176
                                                                                                                          Exhibit 6
                                                                                                                        Page 8 of 9
                         Case 3:16-cv-00014-AC                       Document 1-2              Filed 01/06/16            Page 9 of 9

                                             /
                                                 '• •   I




ori
-
0             1                                                                   32.
�
...,
......

� 2
.._
                          Plaintiff is entitled to his reasonable attorney fees under 42 USC §1983 and §1988 .
<;I
              3 Plaintiff is entitled to costs of suit under 42 USC §§1920 and 1988.
 1:::
'50
·c::
0
              4
......
 0                                       Fourth Cause of Action -Estate of Holly Leonetti
 g:
u             5                                                                   33.
�
�
u 6                       Plaintiff realleges paragraphs 1 through 32.
]
              7                                                                   34.
0..::
·;:::
 (I)
>
         I
              8           At all material times, Holly Leonetti and Joseph Leonetti were wife and husband until she

              9   died of breast cancer in 2015. Defendants' acts and onussions, as alleged above, caused Holly

             10 Leonetti to lose society, services, companionship, and consortium of her husband, Joseph, and

             11   caused her extreme emotional anguish, all to her damage in an amount not to exceed $1,500,000.

             12                                                           Jury Deman:d

             13           Plaintiff demands trial by a jury of 12 on each claim and cause of action.

             14           WHEREFORE, plaintiff Joseph Leonetti personally and                             as     personal representative for the

             15   estate of Holly Leonetti requests damages in an amount not to exceed $7,500,000, for his

             16   reasonable attorney fees incurred in this action, and for his costs and disbursements incurred in

             17   this action.

             18           DATED: November 30, 2015.

             19

             20

             21

             22

             23

             24

             25
                                                                               4821·8636·0873, v. I
             26

                  Page 9- COMPLAINT-- FALSE ARREST, MALICIOUS PROSECUTION, DENIAL OF CIVIL
                  RIGHTS UNDER42 USC § 1983
                                                                                                                        29979.001\4830-4300-9579.vl
                                                                            CABLE HUSTON'
                                                                  1001 SW FIFTH! AVENUE, SUITE 2000
                                                                    PORTLAND, OREGON 97204-1136
                                                            TELEPHONE (S03) 224-3092, FACSIMILE (503) 224-3176
                                                                                                                                      Exhibit 6
                                                                                                                                    Page 9 of 9
